Case 1:24-cv-00454-DLI-VMS Document 21 Filed 08/07/24 Page 1 of 4 PageID #: 124



                                Kasell Law Firm
                                                                                 August 7, 2024
   Via CM/ECF

   Hon. Judge Dora L. Irizarry
   United States District Judge
   United States District Court
   Eastern District Of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

          Re:         Defendants’ Supplement to Motion to Refer to Bankruptcy Court
                     in Squared Funding Cali LLC v. Henderson et. al, No. 24 Civ. 00454

   Judge Irizarry:

          As counsel for Defendants in the above-captioned action, and pursuant to this
   Court’s Order dated June 26, 2024 (ECF No. 20), Defendants supplement their unopposed
   motion pursuant to this Court’s Standing Order of Reference dated August 28, 1986
   (Weinstein, C.J.), as amended by Order dated December 5, 2012 (Amon, C.J.) (the
   “Standing Order”).

          The Court ordered Defendants to answer (1) how this case is related to the
   bankruptcy case; (2) why the automatic stay is not sufficient; and (3) why or how the Court
   should refer this case to the Bankruptcy Court in this District, when the bankruptcy case is
   pending in Nevada.

          I.         Background

          By way of background, there are two defendants: Varaluz LLC (“Varaluz”) (a
   company that sells handmade lighting & home décor) and its principal owner, Ronald
   Henderson. Plaintiff and Varaluz entered into a written contract dated November 8, 2023
   (the “Contract”) whereby Varaluz allegedly sold to Plaintiff its future receipts having a
   value of $374,750 (“Receivables”) for the sum of $250,000 (“Purchase Price”). The
   Purchase Price was to be paid to Plaintiff pursuant to a schedule set forth in the Contract.
   In addition to being the principal of Varaluz, Mr. Henderson signed a “guarantee of
   performance” to the Contract.

          Varaluz allegedly defaulted on the Contract. On June 25, 2024, Varaluz filed its
   voluntary petition for relief under Chapter 11 of Title 11 of the United States Code (the
                                                   1
                           1038 Jackson Avenue #4 • Long Island City, NY 11101

                                           Phone 718.404.6668
Case 1:24-cv-00454-DLI-VMS Document 21 Filed 08/07/24 Page 2 of 4 PageID #: 125



                                Kasell Law Firm
   “Bankruptcy Code”) in the Nevada Bankruptcy Court, In re Varaluz, LLC, Case No. 24-
   13181-HLB (the “Bankruptcy Case”).

           Defendants now respectfully answer the Court’s questions in reverse order.

           II.     Why or how the Court should refer this case to the Bankruptcy Court
                   in this District?

           It is undersigned counsel’s understanding that cases involving a party in bankruptcy
   are referred to the district’s bankruptcy court through a Standing Order, and the bankruptcy
   court can then transfer the case to the debtor’s home court if requested by a party. Varaluz
   intends to move to transfer venue once the case is referred to the bankruptcy court.

           Bankruptcy Rule 7087 provides that a bankruptcy court “may transfer an adversary
   proceeding or any part thereof to another district pursuant to 28 U.S.C. § 1412.” Fed. R.
   Bankr. P. 7087. Section 1412 of Title 28, in turn, grants courts discretion to “transfer a case
   or proceeding under Title 11 to a district court for another district, in the interest of justice
   or for the convenience of the parties.” 28 U.S.C. § 1412; In re Harnischfeger Indus., Inc.,
   246 B.R. 421, 435 (Bankr. N.D. Ala. 2000) (“Because the criteria under § 1412 is phrased
   in the disjunctive, the bankruptcy case or proceeding is transferable upon a sufficient
   showing of either the interest of justice or the convenience of the parties.”).

           Varaluz could also move the bankruptcy court pursuant to the general transfer of
   venue provision, 28 U.S.C. § 1404, which similarly grants a court discretion to transfer
   civil actions to other districts in the interest of justice and for the convenience of the parties.
   The difference between §§ 1412 and 1404 is “a largely academic exercise; the factors to
   be considered under either statute are the same.” Jackson v. Venture Dept. Stores, Inc.,
   1998 WL 778057 at *6 (N.D. Ill Nov. 2, 1998). “The only substantial difference between
   the statutes is the additional requirement under § 1404(a) that an action may be transferred
   to any place where venue could have been valid originally.” City of Liberal v. Trailmobile
   Corp., 316 B.R. 358, 362 (D. Kan. 2004).

           III.    Why is the automatic stay not sufficient?

           It is true that the automatic stay is effective upon the filing of a bankruptcy petition,
   and the injunctive nature of the automatic stay imposes on all affected parties an obligation
   to respect the stay until such time that it is lifted by the bankruptcy court. Any action taken
   in violation of the stay is void and of no force and effect.

                                                   2
                          1038 Jackson Avenue #4 • Long Island City, NY 11101

                                           Phone 718.404.6668
Case 1:24-cv-00454-DLI-VMS Document 21 Filed 08/07/24 Page 3 of 4 PageID #: 126



                             Kasell Law Firm
           However, the automatic stay may not apply to actions against non-debtor third
   parties (in this case, Mr. Henderson). See Teachers Ins. & Annuity Ass’n of Am. v. Butler,
   803 F.2d 61 (2d Cir. 1986); see also In re FPSDA I, LLC, 2012 Bankr. LEXIS 5928, *24
   (Bankr. EDNY Dec. 26, 2012).

           A Bankruptcy Court has inherent authority to grant extraordinary relief and extend
   the stay to actions against a non-debtor under 11 U.S.C. § 105. Such extensions of the stay
   typically apply to lawsuits which threaten serious risk to a bankruptcy reorganization in
   the form of immediate adverse economic consequences for the debtor’s bankruptcy estate.

          Staying actions against a nondebtor party (such as Mr. Henderson) might be
   necessary to protect the debtor’s estate or even just ensure an orderly and fair
   reorganization. But, absent a transfer, difficulties may arise in determining which court
   would have jurisdiction to impose such relief.

          Moreover, Varaluz intends to file an adversary proceeding against Square Funding
   Cali LLC, and the adversary proceeding will impact the liabilities of the parties in this
   pending action. In order to ensure an efficient resolution, Varaluz expects to seek to have
   this matter consolidated with the adversary proceeding, which is best accomplished by
   completing the referral to the bankruptcy court and transfer to Nevada Bankruptcy Court.

          IV.     How is this case related to the bankruptcy case?

            Under 28 U.S.C. § 1334(b), federal courts have jurisdiction over civil proceedings
   that are “related to” cases under Title 11. Courts have consistently held that a proceeding
   relates to Title 11 if “‘the outcome of that proceeding could conceivably have any effect
   on the estate being administered in bankruptcy.’” HSBC USA, NA v. Schwartz, 2008 WL
   2357380, at *2 (E.D.N.Y. June 4, 2008) (quoting In re Tower Auto., Inc., 356 B.R. 598,
   600 (Bkrtcy. S.D.N.Y. 2006); see also Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3d Cir.
   1984). This includes any proceeding whose outcome could alter the debtor's rights,
   liabilities, options, or freedom of action. Id.

           The breach of contract claim against Varaluz and the guaranty claim against Mr.
   Henderson are inherently linked, and therefore, related to the bankruptcy case. Any
   judgment against Mr. Henderson as a guarantor will necessarily impact the liabilities and
   financial obligations of Varaluz.

         As a closely-held company, Mr. Henderson will also argue that Varaluz has
   indemnification obligations towards him. A judgment against him could lead to
                                                3
                        1038 Jackson Avenue #4 • Long Island City, NY 11101

                                        Phone 718.404.6668
Case 1:24-cv-00454-DLI-VMS Document 21 Filed 08/07/24 Page 4 of 4 PageID #: 127



                               Kasell Law Firm
   indemnification claims against the bankruptcy estate, thereby increasing the estate’s
   liabilities.

           Moreover, if Mr. Henderson satisfies the judgment as a guarantor, even in part, he
   would be subrogated to the rights of the plaintiff against Varaluz. This would create
   additional claims against the estate, affecting the distribution to other creditors and the
   overall reorganization plan.

           The resolution of the guaranty claim against Mr. Henderson will also directly affect
   Varaluz’s ability to formulate and execute a feasible reorganization plan. Any significant
   financial burden on Mr. Henderson, as the principal and decision-maker of Varaluz, could
   impair his ability to contribute to the reorganization efforts, negotiate with creditors, and
   maintain business operations.

          Finally, given the interconnected nature of the claims against Varaluz and Mr.
   Henderson, it is in the interest of judicial efficiency to resolve these matters within a single
   forum, the bankruptcy forum. Separate adjudication of the guaranty claim in a different
   forum would result in duplicative litigation, increased costs, and the potential for
   inconsistent judgments, all of which could hinder the efficient administration of the
   bankruptcy estate.

          V.      Conclusion

          Defendants respectfully request that this matter be referred to the bankruptcy court
   pursuant to the Standing Order so that Defendants may seek to transfer the case to the
   Nevada Bankruptcy Court. Alternatively, should the Court prefer, Defendants will file the
   request to transfer before this Court.

          Should the Court have any further questions, Defendants look forward to providing
   a response.


                                                                                  Respectfully,

                                                                                /s/ David Kasell
                                                                 1038 Jackson Avenue, Suite #4
                                                                    Long Island City, NY 11101
                                                           Attorney for Defendants Varaluz LLC
                                                                         and Ronald Henderson
                                                  4
                          1038 Jackson Avenue #4 • Long Island City, NY 11101

                                          Phone 718.404.6668
